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                     UNITED STATES DISTRICT COURT
                           DISTRICT OF IDAHO
                    U.S. DISTRICT JUDGE MINUTE ENTRY
☒Motion hearing: Plaintiff’s Motion to Dismiss Defendant’s Counterclaims and Plaintiff’s
Motion to Quash Summonses


U.S. Magistrate Judge: Raymond E. Patricco                 Date: Friday, July 21, 2023
Deputy Clerk: Jackie Hildebrand                            Time: 10:00 -10:53 am via Zoom
                                                           Boise, Idaho

                   REBECCA SCOFIELD vs. ASHLEY GUILLARD
                                  CASE NO. 3:22-cv-521-REP

Counsel for Plaintiff: Wendy Olson, Elijah Watkins, Cory Carone
Defendant appeared Pro Se: Ashley Guillard

The Court noted this matter is now set for Plaintiff’s Motion to Dismiss Counterclaims (dkt 22) and
Plaintiff’s Motion to Quash (dkt 25)

Participants in the Zoom hearing were advised as to Members of the public may use the following
to attend this matter via Audio ONLY: 1-669-254-5252, Meeting ID:160 114 9423. Persons granted
remote access to proceedings are reminded of the general prohibition under federal law and Local
Rule 83.1 against photographing, recording, and rebroadcasting of court proceedings.

Ms. Olson argued on behalf of plaintiff Rebecca Scofield in support of motions (dkts 22 and 25).
Pro se Guillard argued against plaintiff’s motion.
Ms. Olson provided rebuttal on behalf of plaintiff.

The Court stated an Order would be forthcoming.

Court adjourned at 10:53 a.m.
